✎AO 187 (Rev. 7/87) Exhibit and Witness List


                                                 UNITED STATES DISTRICT COURT
                                MIDDLE                                                 DISTRICT OF                                    TENNESSEE



                 UNITED STATES OF AMERICA
                                                                                                                 EXHIBIT AND WITNESS LIST
                                        V.
                            BRIAN KELSEY                                                                               Case Number: 3:21-CR-264-1

PRESIDING JUDGE                                                    PLAINTIFF’S ATTORNEY                                      DEFENDANT’S ATTORNEY
 WAVERLY D. CRENSHAW, JR.                                           Amand Klopf, David Pritchard and John Alex Little and Zachary Lawson
TRIAL DATE (S)                                                     COURT REPORTER                                            COURTROOM DEPUTY
 8/11/2023                                                          LISE MATTHEWS                                             MELISSA SEAY
 PLF.      DEF.         DATE
                                       MARKED ADMITTED                                                   DESCRIPTION OF EXHIBITS* AND WITNESSES
 NO.       NO.        OFFERED

             x        8/11/2023                                     WIT: Jennifer Martinez

             x        8/11/2023                                     WIT: Beth Wodarski

             x        8/11/2023                                     WIT: John Deberry

             x        8/11/2023                                     WIT: Daniel Suhr




* Include a notation as to the location of any exhibit not held with the case file or not available because of size.

                                                                                                                                     Page 1 of    1   Pages

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